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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                                        :      CHAPTER 7
                                                 :
   BRENDA K. ROBERTSON,                          :      CASE NO. 15-53700-WLH
                                                 :
            Debtor.                              :
                                                 :

                                      REPORT OF SALE

            COMES NOW S. Gregory Hays, the Chapter 7 Trustee in the above-captioned

   matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

   Court as follows:

                                                1.

            On or about February 15, 2019, the Trustee sold the interest of Woodmond

   Ventures, LLC (“Woodmond Ventures”) in certain real property located at 3265 Walt

   Stephens Road, Jonesboro, Clayton County, Georgia 30236 (“Property”), controlled

   through the bankruptcy estate’s membership interest in Woodmond Ventures to Mega

   Investment Group, LLC (“Purchaser”) for $87,000.00 pursuant to the Order Granting

   Trustee’s Motion for Authority to Vote Membership Interest of Woodmond Ventures, LLC

   to (1) Sell Assets of Limited Liability Company; (2) Distribute the Assets of the Limited

   Liability Company; and (3) Wind-Up the Financial Affairs of the Limited Liability

   Company [Doc. No. 331] entered on November 14, 2018.

                                                2.

            Attached hereto as Exhibit “A” is the Seller’s Settlement Statement from the sale.

   The Trustee reports that he has completed the delivery of the Property to the Purchaser
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   and has realized net proceeds of $4,482.151 from the sale which he is currently holding in

   a bank account in the name of Woodmond Ventures. The net proceeds after payments of

   all debts of Woodmond Ventures (none anticipated) will be distributed to the Trustee

   upon the wind-up and final distribution of Woodmond Ventures.

          Respectfully submitted this 21st day of February, 2019.

                                                           /s
                                                       S. Gregory Hays
   Hays Financial Consulting, LLC                      Chapter 7 Trustee
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net




   1
           In addition, the Trustee is holding $8,855.06 from the sale for payment to
   Bullseye Auction & Appraisal, LLC representing $8,700.00 of commission and $155.06
   in expenses resulting from the sale. Contemporaneously with the filing of this report of
   sale, Trustee will file a motion requesting authority to pay Bullseye Auction & Appraisal,
   LLC these amounts.
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                                   Exhibit “A”
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                                CERTIFICATE OF SERVICE

          I hereby certify that I am over the age of 18 and that on this day I served a copy of

   the foregoing REPORT OF SALE by first class U.S. Mail, with adequate postage prepaid

   on the following persons or entities at the addresses stated:

             Office of the United States Trustee
             362 Richard B. Russell Building
             75 Ted Turner Drive, SW
             Atlanta, GA 30303

             Brenda Kay Robertson
             78 Wall Street
             Hampton, GA 30228

             Katherine J. Hill
             Hicks Hill, LLC
             Suite 210
             305 Lawrence Street
             Marietta, GA 30060

   Dated: February 21, 2019.

                                                            /s
                                                         S. Gregory Hays
                                                         Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
